             Case 22-21065-CMB                           Doc 19           Filed 06/27/22 Entered 06/27/22 13:48:12                                                  Desc Main
                                                                         Document     Page 1 of 42
Fill in this information to identify your case:

Debtor 1                   Richard A. Steigerwald, Sr.
                           First Name                           Middle Name                          Last Name

Debtor 2                   Patricia L. Steigerwald
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  WESTERN DISTRICT OF PENNSYLVANIA

Case number           22-21065-CMB
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             175,000.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              93,188.67

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             268,188.67

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             413,531.76

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $                5,770.62


                                                                                                                                    Your total liabilities $               419,302.38


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,810.45

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,490.45

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
       Case 22-21065-CMB                      Doc 19      Filed 06/27/22 Entered 06/27/22 13:48:12                                Desc Main
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Debtor 1    Richard A. Steigerwald, Sr.
Debtor 2    Patricia L. Steigerwald                                                     Case number (if known) 22-21065-CMB
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $         4,361.76


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

     9d. Student loans. (Copy line 6f.)                                                                 $              0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $              0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
           Case 22-21065-CMB                                   Doc 19          Filed 06/27/22 Entered 06/27/22 13:48:12                                    Desc Main
                                                                              Document     Page 3 of 42
Fill in this information to identify your case and this filing:

Debtor 1                    Richard A. Steigerwald, Sr.
                            First Name                                 Middle Name                    Last Name

Debtor 2                    Patricia L. Steigerwald
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      WESTERN DISTRICT OF PENNSYLVANIA

Case number            22-21065-CMB                                                                                                                             Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       6 Cheryl Drive                                                                 Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the      Current value of the
       Coraopolis                        PA        15108-0000                         Land                                       entire property?          portion you own?
       City                              State              ZIP Code                  Investment property                               $175,000.00                $175,000.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Tenancy by the Entirety
       Allegheny                                                                      Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Parcel ID : 0208-F-00037-0000-00 Municipality : 939 Robinson


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $175,000.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
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Debtor 1         Richard A. Steigerwald, Sr.
Debtor 2         Patricia L. Steigerwald                                                                           Case number (if known)       22-21065-CMB

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Nissian                                  Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Altima 2.5                                  Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2011                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                70,000             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         Full Value $3,866.00
         Location: 6 Cheryl Drive,                              Check if this is community property                                    $3,866.00                 $1,933.00
         Coraopolis PA 15108                                     (see instructions)




  3.2    Make:      Nissian                                  Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Altima 2.5                                  Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2006                                        Debtor 2 only
                                                                                                                             Current value of the      Current value of the
         Approximate mileage:              310,000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         Location: 6 Cheryl Drive,
         Coraopolis PA 15108                                    Check if this is community property                                      $870.00                    $870.00
                                                                 (see instructions)



  3.3    Make:      Dodge                                    Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Neon SRT                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2004                                        Debtor 2 only
                                                                                                                             Current value of the      Current value of the
         Approximate mileage:              190,000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         Location: 6 Cheryl Drive,
         Coraopolis PA 15108                                    Check if this is community property                                    $1,104.00                 $1,104.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                  $3,907.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   Household goods and furnishings
                                   Location: 6 Cheryl Drive, Coraopolis PA 15108                                                                                  $5,000.00



Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
        Case 22-21065-CMB                    Doc 19        Filed 06/27/22 Entered 06/27/22 13:48:12                                 Desc Main
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Debtor 1      Richard A. Steigerwald, Sr.
Debtor 2      Patricia L. Steigerwald                                                               Case number (if known)     22-21065-CMB

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               2 TVs, 2 cell phone, 1 I-PAD
                               Location: 6 Cheryl Drive, Coraopolis PA 15108                                                                       $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Casual, Work and Dress Apparel
                               Location: 6 Cheryl Drive, Coraopolis PA 15108                                                                       $750.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                               1 wedding band                                                                                                       $50.00


                               1 wedding band, and various costume jewelry
                               Location: 6 Cheryl Drive, Coraopolis PA 15108                                                                       $250.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                               5 rescue cats                                                                                                          $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
      Yes. Give specific information.....

                               1 oxygen tank                                                                                                          $0.00


Official Form 106A/B                                         Schedule A/B: Property                                                                   page 3
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Debtor 1        Richard A. Steigerwald, Sr.
Debtor 2        Patricia L. Steigerwald                                                                                     Case number (if known)   22-21065-CMB



15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                           $6,250.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                               Cash                                  $200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                First Niagara Bank                                                   $300.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                                                  Institution name:

                                            Pension                                             Comcast defined benefit pension plan                                    $0.00


                                            401K                                                Comcast                                                           $76,772.67


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No

Official Form 106A/B                                                                     Schedule A/B: Property                                                         page 4
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Debtor 1        Richard A. Steigerwald, Sr.
Debtor 2        Patricia L. Steigerwald                                                                     Case number (if known)      22-21065-CMB

      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                       2021 Federal Refund $2,365.00; 2020
                                                           $2,603.00; 2019 $791.00                                Federal                              $5,759.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                       Beneficiary:                            Surrender or refund
                                                                                                                                           value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No


Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 5
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Debtor 1        Richard A. Steigerwald, Sr.
Debtor 2        Patricia L. Steigerwald                                                                                         Case number (if known)        22-21065-CMB

       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
       Yes. Describe each claim.........

                                                         Personal Injury Claim against Max Auto Supply Company in
                                                         connection with slip and fall 650 Corporation Street, ST. 202
                                                         Beaver, PA 15009                                                                                                Unknown


35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................           $83,031.67


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00




Official Form 106A/B                                                          Schedule A/B: Property                                                                            page 6
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Debtor 1         Richard A. Steigerwald, Sr.
Debtor 2         Patricia L. Steigerwald                                                                                               Case number (if known)   22-21065-CMB

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................             $175,000.00
56. Part 2: Total vehicles, line 5                                                                            $3,907.00
57. Part 3: Total personal and household items, line 15                                                       $6,250.00
58. Part 4: Total financial assets, line 36                                                                  $83,031.67
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $93,188.67              Copy personal property total          $93,188.67

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $268,188.67




Official Form 106A/B                                                              Schedule A/B: Property                                                                        page 7
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Fill in this information to identify your case:

Debtor 1                Richard A. Steigerwald, Sr.
                        First Name                   Middle Name                Last Name

Debtor 2                Patricia L. Steigerwald
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        WESTERN DISTRICT OF PENNSYLVANIA

Case number           22-21065-CMB
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     2011 Nissian Altima 2.5 70,000 miles                      $1,933.00                                 $1,933.00     11 U.S.C. § 522(d)(5)
     Full Value $3,866.00
     Location: 6 Cheryl Drive, Coraopolis                                          100% of fair market value, up to
     PA 15108                                                                      any applicable statutory limit
     Line from Schedule A/B: 3.1

     2006 Nissian Altima 2.5 310,000 miles                         $870.00                                 $870.00     11 U.S.C. § 522(d)(2)
     Location: 6 Cheryl Drive, Coraopolis
     PA 15108                                                                      100% of fair market value, up to
     Line from Schedule A/B: 3.2                                                   any applicable statutory limit

     2004 Dodge Neon SRT 190,000 miles                         $1,104.00                                 $1,104.00     11 U.S.C. § 522(d)(2)
     Location: 6 Cheryl Drive, Coraopolis
     PA 15108                                                                      100% of fair market value, up to
     Line from Schedule A/B: 3.3                                                   any applicable statutory limit

     Household goods and furnishings                           $5,000.00                                 $5,000.00     11 U.S.C. § 522(d)(3)
     Location: 6 Cheryl Drive, Coraopolis
     PA 15108                                                                      100% of fair market value, up to
     Line from Schedule A/B: 6.1                                                   any applicable statutory limit

     2 TVs, 2 cell phone, 1 I-PAD                                  $200.00                                 $200.00     11 U.S.C. § 522(d)(3)
     Location: 6 Cheryl Drive, Coraopolis
     PA 15108                                                                      100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                   any applicable statutory limit


Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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Debtor 2    Patricia L. Steigerwald                                                            Case number (if known)     22-21065-CMB
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Casual, Work and Dress Apparel                             $750.00                                   $750.00        11 U.S.C. § 522(d)(3)
    Location: 6 Cheryl Drive, Coraopolis
    PA 15108                                                                     100% of fair market value, up to
    Line from Schedule A/B: 11.1                                                 any applicable statutory limit

    1 wedding band                                              $50.00                                    $50.00        11 U.S.C. § 522(d)(4)
    Line from Schedule A/B: 12.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    1 wedding band, and various                                $250.00                                   $250.00        11 U.S.C. § 522(d)(4)
    costume jewelry
    Location: 6 Cheryl Drive, Coraopolis                                         100% of fair market value, up to
    PA 15108                                                                     any applicable statutory limit
    Line from Schedule A/B: 12.2

    Cash                                                       $200.00                                   $200.00        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 16.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: First Niagara Bank                               $300.00                                   $300.00        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Pension: Comcast defined benefit                              $0.00                                     $0.00       11 U.S.C. § 522(d)(12)
    pension plan
    Line from Schedule A/B: 21.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    401K: Comcast                                          $76,772.67                                $76,772.67         11 U.S.C. § 522(d)(12)
    Line from Schedule A/B: 21.2
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Federal: 2021 Federal Refund                            $5,759.00                                  $5,759.00        11 U.S.C. § 522(d)(5)
    $2,365.00; 2020 $2,603.00; 2019
    $791.00                                                                      100% of fair market value, up to
    Line from Schedule A/B: 28.1                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
             Case 22-21065-CMB                      Doc 19          Filed 06/27/22 Entered 06/27/22 13:48:12                                      Desc Main
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Fill in this information to identify your case:

Debtor 1                   Richard A. Steigerwald, Sr.
                           First Name                      Middle Name                      Last Name

Debtor 2                   Patricia L. Steigerwald
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             WESTERN DISTRICT OF PENNSYLVANIA

Case number           22-21065-CMB
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        Bank of New York Mellon
2.1                                                                                                          $375,996.32               $175,000.00                     $0.00
        ...,                                     Describe the property that secures the claim:
        Creditor's Name                          6 Cheryl Drive Coraopolis, PA 15108
        C/O Carrington Mortgage                  Allegheny County
        Services, LLC                            Parcel ID : 0208-F-00037-0000-00
         Suite 200-A                             Municipality : 939 Robinson
        1600 S. Douglass Road,                   As of the date you file, the claim is: Check all that
                                                 apply.
        Suite 200-A
        Anaheim, CA 92806                            Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

Date debt was incurred                                    Last 4 digits of account number        8401




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
           Case 22-21065-CMB                            Doc 19         Filed 06/27/22 Entered 06/27/22 13:48:12                                            Desc Main
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Debtor 1 Richard A. Steigerwald, Sr.                                                                         Case number (if known)        22-21065-CMB
              First Name                  Middle Name                      Last Name
Debtor 2 Patricia L. Steigerwald
              First Name                  Middle Name                      Last Name


2.2     LVNV Funding LLC                           Describe the property that secures the claim:                      $1,535.44               $175,000.00        $1,535.44
        Creditor's Name                            6 Cheryl Drive Coraopolis, PA 15108
        Tony M. Ettinger, Pres.                    Allegheny County
        and CEO                                    Parcel ID : 0208-F-00037-0000-00
        55 Beattie Place, Suite                    Municipality : 939 Robinson
                                                   As of the date you file, the claim is: Check all that
        110                                        apply.
        Greenville, SC 29601                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                         car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          8/5/2021                    Last 4 digits of account number         9237

        Pennsylvania Housing
2.3                                                                                                                 $36,000.00                $175,000.00              $0.00
        Finance Agency                             Describe the property that secures the claim:
        Creditor's Name                            6 Cheryl Drive Coraopolis, PA 15108
                                                   Allegheny County
                                                   Parcel ID : 0208-F-00037-0000-00
                                                   Municipality : 939 Robinson
                                                   As of the date you file, the claim is: Check all that
        211 North Street                           apply.
        Harrisburg, PA 17101                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          09/17/2010                  Last 4 digits of account number         xxxxxxxxxxx


  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $413,531.76
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $413,531.76

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           KML Law Group, P.C.
           c/o Michale T. McKeever                                                                   Last 4 digits of account number
           701 Market Street
           Suite 5000
           Philadelphia, PA 19106


Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                               page 2 of 3
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Debtor 1 Richard A. Steigerwald, Sr.                                               Case number (if known)          22-21065-CMB
           First Name             Middle Name               Last Name
Debtor 2 Patricia L. Steigerwald
           First Name             Middle Name               Last Name


[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.2
        Patenaude & Felix, APC
        Re: Gregg L. Morris, Esq.                                            Last 4 digits of account number
        501 Corporate Drive
        Southpointe Center, Ste 205
        Canonsburg, PA 15317




Official Form 106D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 3
             Case 22-21065-CMB                        Doc 19         Filed 06/27/22 Entered 06/27/22 13:48:12                                              Desc Main
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Fill in this information to identify your case:

Debtor 1                   Richard A. Steigerwald, Sr.
                           First Name                      Middle Name                       Last Name

Debtor 2                   Patricia L. Steigerwald
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              WESTERN DISTRICT OF PENNSYLVANIA

Case number            22-21065-CMB
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

          No. Go to Part 2.
          Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          Duquesne Light                                          Last 4 digits of account number                                                                     $2,147.42
             Nonpriority Creditor's Name
             Payment Processing Center                               When was the debt incurred?             Service through 6/3/2022
             P.O. Box 10
             Pittsburgh, PA 15267
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                  Student loans
             debt                                                       Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify   Consumer debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 3
                                                                                                               27044
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Debtor 1 Richard A. Steigerwald, Sr.
Debtor 2 Patricia L. Steigerwald                                                                         Case number (if known)          22-21065-CMB

          Midland Credit Management, Inc.
4.2       Claim 1                                                  Last 4 digits of account number         xxxxxxxxx                                         $623.20
          Nonpriority Creditor's Name
          PO Box 2037                                              When was the debt incurred?
          Warren, MI 48090
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Consumer debt


4.3       Peoples Natural Gas Company LLC                          Last 4 digits of account number         xxxxxxxxxx                                       $3,000.00
          Nonpriority Creditor's Name
          c/o Barbara Rodgers                                      When was the debt incurred?
          375 North Shore Drive
          Pittsburgh, PA 15212
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Consumer debt

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                        0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                        0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                        0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                        0.00
Total
claims


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
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Debtor 1 Richard A. Steigerwald, Sr.
Debtor 2 Patricia L. Steigerwald                                                                     Case number (if known)   22-21065-CMB

from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                  0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                  0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $              5,770.62

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $              5,770.62




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 3 of 3
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                                                                    Document      Page 18 of 42
Fill in this information to identify your case:

Debtor 1                  Richard A. Steigerwald, Sr.
                          First Name                         Middle Name              Last Name

Debtor 2                  Patricia L. Steigerwald
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               WESTERN DISTRICT OF PENNSYLVANIA

Case number           22-21065-CMB
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Richard A. Steigerwald, Sr.
                           First Name                            Middle Name        Last Name

Debtor 2                   Patricia L. Steigerwald
(Spouse if, filing)        First Name                            Middle Name        Last Name


United States Bankruptcy Court for the:                 WESTERN DISTRICT OF PENNSYLVANIA

Case number           22-21065-CMB
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

   3.1                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




   3.2                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Richard A. Steigerwald, Sr.

Debtor 2                      Patricia L. Steigerwald
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF PENNSYLVANIA

Case number               22-21065-CMB                                                                  Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Head Receiver                               SS Disability
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Comcast of Willow Grove

       Occupation may include student        Employer's address
                                                                   One Comcast Drive
       or homemaker, if it applies.
                                                                   Philadelphia, PA 19103

                                             How long employed there?         32 years                                  Since 2011

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         4,471.96        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      4,471.96               $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1    Richard A. Steigerwald, Sr.
Debtor 2    Patricia L. Steigerwald                                                              Case number (if known)    22-21065-CMB


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      4,471.96       $             0.00

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.        $        731.08       $                 0.00
     5b.     Mandatory contributions for retirement plans                                 5b.        $          0.00       $                 0.00
     5c.     Voluntary contributions for retirement plans                                 5c.        $         44.72       $                 0.00
     5d.     Required repayments of retirement fund loans                                 5d.        $          0.00       $                 0.00
     5e.     Insurance                                                                    5e.        $        737.47       $                 0.00
     5f.     Domestic support obligations                                                 5f.        $          0.00       $                 0.00
     5g.     Union dues                                                                   5g.        $         64.24       $                 0.00
     5h.     Other deductions. Specify:                                                   5h.+       $          0.00 +     $                 0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,577.51       $                 0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,894.45       $                 0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                 0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                 0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $              0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $              0.00
     8e. Social Security                                                                  8e.        $              0.00   $            916.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $            916.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,894.45 + $          916.00 = $           3,810.45
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          3,810.45
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 Richard A. Steigerwald, Sr.                                                       Check if this is:
                                                                                                               An amended filing
Debtor 2                 Patricia L. Steigerwald                                                               A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF PENNSYLVANIA                                           MM / DD / YYYY

Case number           22-21065-CMB
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,100.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            20.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Richard A. Steigerwald, Sr.
Debtor 2     Patricia L. Steigerwald                                                                   Case number (if known)      22-21065-CMB

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 220.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                550.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                  60.00
11.   Medical and dental expenses                                                            11. $                                                 110.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 543.96
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  336.49
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: Auto Maint                                                      17c. $                                                  150.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,490.45
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,490.45
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,810.45
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,490.45

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 320.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                    Richard A. Steigerwald, Sr.
                            First Name                Middle Name              Last Name

Debtor 2                    Patricia L. Steigerwald
(Spouse if, filing)         First Name                Middle Name              Last Name


United States Bankruptcy Court for the:        WESTERN DISTRICT OF PENNSYLVANIA

Case number              22-21065-CMB
(if known)                                                                                                                       Check if this is an
                                                                                                                                 amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                         Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                           Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Richard A. Steigerwald, Sr.                                       X   /s/ Patricia L. Steigerwald
             Richard A. Steigerwald, Sr.                                           Patricia L. Steigerwald
             Signature of Debtor 1                                                 Signature of Debtor 2

             Date       June 22, 2022                                              Date    June 22, 2022




Official Form 106Dec                                  Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  Richard A. Steigerwald, Sr.
                          First Name                  Middle Name                   Last Name

Debtor 2                  Patricia L. Steigerwald
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          WESTERN DISTRICT OF PENNSYLVANIA

Case number           22-21065-CMB
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

For last calendar year:                           Wages, commissions,                      $51,314.55           Wages, commissions,                       $0.00
(January 1 to December 31, 2021 )                                                                             bonuses, tips
                                               bonuses, tips
                                                  Operating a business                                           Operating a business




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Debtor 1     Richard A. Steigerwald, Sr.
Debtor 2     Patricia L. Steigerwald                                                                   Case number (if known)   22-21065-CMB

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

For the calendar year before that:                 Wages, commissions,                      $51,880.32           Wages, commissions,                       $0.00
(January 1 to December 31, 2020 )                                                                              bonuses, tips
                                                bonuses, tips
                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)
From January 1 of current year until Social Security                                          $4,565.00
the date you filed for bankruptcy:   Benefits

For last calendar year:                                                                            $0.00       Social Security                      $10,344.00
(January 1 to December 31, 2021 )                                                                              Benefits


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe




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Debtor 1     Richard A. Steigerwald, Sr.
Debtor 2     Patricia L. Steigerwald                                                                  Case number (if known)   22-21065-CMB

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                         Status of the case
      Case number
      Bank of New York Mellon vs                          Mortgage                     Court of Common Pleas                      Pending
      Steigerwald eta                                     Foreclosure                  414 Grant St #700                          On appeal
      MG-20-000446                                                                     Pittsburgh, PA 15219
                                                                                                                                  Concluded

                                                                                                                               Sheriff Sale Pending

      Unknown Plaintiff vs Unknown                        BankruptcyChapt              US BKPT CT PA PITTSBUR                     Pending
      Defendant                                           er13                                                                    On appeal
      2221065
                                                                                                                                  Concluded

                                                                                                                               Pending - 0.00

      Unknown Plaintiff vs Unknown                        BankruptcyChapt              US BKPT CT PA PITTSBUR                     Pending
      Defendant                                           er13                                                                    On appeal
      1721291CMB                                                                                                                  Concluded

                                                                                                                               Dismissed - 0.00

      Unknown Plaintiff vs Unknown                        BankruptcyChapt              US BKPT CT PA PITTSBUR                     Pending
      Defendant                                           er7                                                                     On appeal
      1622083CMB                                                                                                                  Concluded

                                                                                                                               Discharged - 0.00

      RICHARD STEIGERWALD,                                Bankruptcy                   PENNSYLVANIA WESTERN                       Pending
      PATRICIA STEIGERWALD vs                             Chapter 13                   - PITTSBURGH                               On appeal
      Unknown Defendant                                                                                                           Concluded
      2221065
                                                                                                                               - 0.00


Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1     Richard A. Steigerwald, Sr.
Debtor 2     Patricia L. Steigerwald                                                                 Case number (if known)    22-21065-CMB

      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      RICHARD STEIGERWALD,                               Bankruptcy                   PENNSYLVANIA WESTERN                        Pending
      PATRICIA STEIGERWALD vs                            Chapter 13                   - PITTSBURGH                                On appeal
      Unknown Defendant                                                                                                           Concluded
      1721291
                                                                                                                               Dismissed - 0.00

      RICHARD STEIGERWALD,                               Bankruptcy                   PENNSYLVANIA WESTERN                        Pending
      PATRICIA STEIGERWALD vs                            Chapter 7                    - PITTSBURGH                                On appeal
      Unknown Defendant                                                                                                           Concluded
      1622083
                                                                                                                               Discharged - 0.00

      RICHARD STEIGERWALD,                               Bankruptcy                   PENNSYLVANIA WESTERN                        Pending
      PATRICIA STEIGERWALD vs                            Chapter 7                    - PITTSBURGH                                On appeal
      Unknown Defendant                                                                                                           Concluded
      1521160
                                                                                                                               Dismissed - 0.00

      RICHARD STEIGERWALD,                               Bankruptcy                   PENNSYLVANIA WESTERN                        Pending
      PATRICIA STEIGERWALD vs                            Chapter 13                   - PITTSBURGH                                On appeal
      Unknown Defendant                                                                                                           Concluded
      2221065
                                                                                                                               - 0.00

      RICHARD STEIGERWALD,                               Bankruptcy                   PENNSYLVANIA WESTERN                        Pending
      PATRICIA STEIGERWALD vs                            Chapter 13                   - PITTSBURGH                                On appeal
      Unknown Defendant                                                                                                           Concluded
      1721291
                                                                                                                               Dismissed - 0.00

      RICHARD STEIGERWALD,                               Bankruptcy                   PENNSYLVANIA WESTERN                        Pending
      PATRICIA STEIGERWALD vs                            Chapter 7                    - PITTSBURGH                                On appeal
      Unknown Defendant                                                                                                           Concluded
      1622083
                                                                                                                               Discharged - 0.00

      RICHARD STEIGERWALD,                               Bankruptcy                   PENNSYLVANIA WESTERN                        Pending
      PATRICIA STEIGERWALD vs                            Chapter 7                    - PITTSBURGH                                On appeal
      Unknown Defendant                                                                                                           Concluded
      1521160
                                                                                                                               Dismissed - 0.00


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened




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Debtor 1     Richard A. Steigerwald, Sr.
Debtor 2     Patricia L. Steigerwald                                                                     Case number (if known)    22-21065-CMB

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was              Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                 Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                      Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your        Value of property
      how the loss occurred                                                                                                 loss                             lost
                                                         Include the amount that insurance has paid. List pending
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment              Amount of
      Address                                                      transferred                                              or transfer was            payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Bryan P. Keenan & Associates P.C.                            Attorney Fees                                            6/13/2019                 $1,500.00
      993 Greentree Road
      Suite 201
      Pittsburgh, PA 15220
      keenan662@gmail.com




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Debtor 1      Richard A. Steigerwald, Sr.
Debtor 2      Patricia L. Steigerwald                                                                    Case number (if known)    22-21065-CMB

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment               Amount of
      Address                                                      transferred                                              or transfer was             payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or          Date transfer was
      Address                                                      property transferred                       payments received or debts        made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                            Date Transfer was
                                                                                                                                                made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was               Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,              before closing or
      Code)                                                                                                           moved, or                           transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?            Describe the contents                    Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                 have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access            Describe the contents                    Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                         have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Richard A. Steigerwald, Sr.
Debtor 2     Patricia L. Steigerwald                                                                        Case number (if known)   22-21065-CMB

Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                         Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                  Status of the
      Case Number                                                Name                                                                           case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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Debtor 1      Richard A. Steigerwald, Sr.
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            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                        Describe the nature of the business               Employer Identification number
       Address                                                                                                Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                              Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                 Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Richard A. Steigerwald, Sr.                                       /s/ Patricia L. Steigerwald
Richard A. Steigerwald, Sr.                                           Patricia L. Steigerwald
Signature of Debtor 1                                                 Signature of Debtor 2

Date      June 22, 2022                                               Date     June 22, 2022

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8
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Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

Debtor 1              Richard A. Steigerwald, Sr.                                                             According to the calculations required by this
                                                                                                              Statement:
Debtor 2              Patricia L. Steigerwald                                                                       1. Disposable income is not determined under
(Spouse, if filing)
                                                                                                                       11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the:        Western District of Pennsylvania                                     2. Disposable income is determined under 11
                                                                                                                       U.S.C. § 1325(b)(3).
Case number           22-21065-CMB
(if known)
                                                                                                                    3. The commitment period is 3 years.

                                                                                                                    4. The commitment period is 5 years.

                                                                                                                  Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                              10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married. Fill out both Columns A and B, lines 2-11.


   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                 Column B
                                                                                                      Debtor 1                 Debtor 2 or
                                                                                                                               non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                           4,361.76       $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                             0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                           Debtor 1
       Gross receipts (before all deductions)                         $       0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                    0.00      $               0.00
  6. Net income from rental and other real property                Debtor 1
       Gross receipts (before all deductions)                        $      0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from rental or other real property         $        0.00 Copy here -> $                    0.00      $               0.00




Official Form 122C-1          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1
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                                                                                                    Column A                      Column B
                                                                                                    Debtor 1                      Debtor 2 or
                                                                                                                                  non-filing spouse
                                                                                                    $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                      $                  0.00       $           0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                       $                  0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                         0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
                                                                                                    $                  0.00       $           0.00
                                                                                                    $                  0.00       $           0.00
                Total amounts from separate pages, if any.                                     +    $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $           4,361.76           +   $           0.00   =    $      4,361.76

                                                                                                                                                      Total average
                                                                                                                                                      monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                    $          4,361.76
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
             dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
             adjustments on a separate page.
             If this adjustment does not apply, enter 0 below.
                                                                                           $
                                                                                           $
                                                                                      +$

                   Total                                                               $                       0.00           Copy here=>         -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                             $          4,361.76

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                               $          4,361.76



Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                           page 2
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Debtor 2     Patricia L. Steigerwald                                                                       Case number (if known)   22-21065-CMB

               Multiply line 15a by 12 (the number of months in a year).                                                                                 x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................            $     52,341.12


  16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                                PA

      16b. Fill in the number of people in your household.                      2
      16c. Fill in the median family income for your state and size of household.                                                                    $     74,805.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
      17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                    1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                    your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                   $                   4,361.76
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                     0.00


      19b. Subtract line 19a from line 18.                                                                                                       $          4,361.76


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                             $      4,361.76

             Multiply by 12 (the number of months in a year).                                                                                            x 12

      20b. The result is your current monthly income for the year for this part of the form                                                          $     52,341.12




      20c. Copy the median family income for your state and size of household from line 16c                                                          $     74,805.00


      21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                  period is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                  commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ Richard A. Steigerwald, Sr.                                                      X /s/ Patricia L. Steigerwald
       Richard A. Steigerwald, Sr.                                                            Patricia L. Steigerwald
       Signature of Debtor 1                                                                  Signature of Debtor 2
      Date June 22, 2022                                                                      Date June 22, 2022
           MM / DD / YYYY                                                                          MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.

Official Form 122C-1        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                              page 3
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Debtor 2    Patricia L. Steigerwald                                                             Case number (if known)   22-21065-CMB

      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1      Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 4
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                           Western District of Pennsylvania
             Richard A. Steigerwald, Sr.
 In re       Patricia L. Steigerwald                                                                          Case No.      22-21065-CMB
                                                                              Debtor(s)                       Chapter       13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  5,000.00
             Prior to the filing of this statement I have received                                        $                  1,500.00
             Balance Due                                                                                  $                  3,500.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Clients have agreed that the parties shall follow the Local Rules as they pertain to compensation above any
                 applicable “No-Look Fee.” However, time and expenses shall be maintained and billed at $250.00 per hour for
                 Chapter 7 matters and $300.00 for Chapter 13 matters from the initial meeting with client. Additional
                 compensation shall be paid in accordance with the Court's Local Rules pertaining to attorney’s fees in
                 accordance with In Re Busy Beaver, 19 F 3d(CA 3, PA 1993). See Client fee agreement on file with Counsel's
                 office.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 22, 2022                                                            /s/ Bryan P. Keenan
     Date                                                                     Bryan P. Keenan
                                                                              Signature of Attorney
                                                                              Bryan P. Keenan & Associates P.C.
                                                                              993 Greentree Road
                                                                              Suite 201
                                                                              Pittsburgh, PA 15220
                                                                              (412) 922-5116 Fax: (412) 444-0158
                                                                              keenan662@gmail.com
                                                                              Name of law firm
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                                              United States Bankruptcy Court
                                                 Western District of Pennsylvania
         Richard A. Steigerwald, Sr.
 In re   Patricia L. Steigerwald                                                               Case No.    22-21065-CMB
                                                                   Debtor(s)                   Chapter     13




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: June 22, 2022                                    /s/ Richard A. Steigerwald, Sr.
                                                       Richard A. Steigerwald, Sr.
                                                       Signature of Debtor

Date: June 22, 2022                                    /s/ Patricia L. Steigerwald
                                                       Patricia L. Steigerwald
                                                       Signature of Debtor
